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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

                           CASE NO: 2:20-CV-00949

  DAVID POSCHMANN,

         Plaintiff,
  v.

  CLEWISTON MARINA, INC.,

       Defendant.
  ______________________________/

              JOINT STIPULATION FOR VOLUNTARY DISMISSAL
                            WITH PREJUDICE

         THE PARTIES, by and through their respective undersigned counsel,

  and pursuant to Federal Rule of Civil Procedure 41 and this Court’s Order

  [D.E. # 19] hereby stipulate to the dismissal of this action with prejudice.

  Except as provided in the Parties’ Settlement Agreement, each side shall

  bear its own costs and attorneys’ fees.


  By: _s/_Drew M. Levitt______              By: _s/. Dori K. Stibolt_______
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                            CERTIFICATE OF SERVICE

         I hereby certify that on the 15th day of March, 2021, I electronically

  filed the foregoing document with the Clerk of the Court using CM/ECF. I

  also certify that the foregoing document is being served this day on all

  counsel of record identified on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated

  by CM/ECF or in some other authorized manner for those counsel or parties

  who are not authorized to receive electronically Notices of Electronic Filing.

                                      By: /s/ Dori K. Stibolt
                                            Dori K. Stibolt
                                SERVICE LIST

                          United States District Court
                          Southern District of Florida
                      Case No. CASE NO: 2:20-CV-00949

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